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Flight Attendant Manual (FAM)
Security/Hazmat Procedures




                                 Security/Hazmat Procedures
                                                                                                                           7
7.1          Overview
Last Revised: 2017-11-01
Regulation: 49 CFR 121.15; 49 CFR 121.1520

THIS CHAPTER CONTAINS SENSITIVE SECURITY INFORMATION (SSI). SSI IS
INFORMATION THAT, IF PUBLICLY RELEASED, WOULD BE DETRIMENTAL TO
TRANSPORTATION SECURITY. NO PART OF THIS CHAPTER MAY BE DISCLOSED
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UNAUTHORIZED RELEASE MAY RESULT IN CIVIL PENALTY OR OTHER ACTION.


7.2          Customer Misconduct / Air Rage
Last Revised: 2017-03-01


7.2.1             Introduction
Last Revised: 2017-03-01

If a Customer is committing, or threatens to commit, any act which would be detrimental
to the safety of the flight and/or its Customers, it is the duty and responsibility of JetBlue
Airways and its personnel to use whatever means reasonable, including restraint, if
necessary, in order to ensure the safety of the flight and its Customers.
Safety and Security-related disturbances are identified as:
   •    Alcohol related incidents
   •    Non-compliance with smoking regulations
   •    Interference with the duties of a Crewmember
   •    When an individual jeopardizes the safety of a Customer or Crewmember




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                                                         CFR PARTS 15 AND 1520.

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Security/Hazmat Procedures
7.2.2             Customer Non-Compliance
Last Revised: 2017-03-01

Federal law requires Customers to adhere to posted placards and signs and follow
Crewmember instructions. Follow the procedures below for Customer non-compliance:
   •    If Customer non-compliance occurs while Crewmembers are secured in their
        jumpseats, make a general reminder PA to all Customers addressing the
        non-compliance.
   •    If Customer non-compliance occurs while Crewmembers are able to move about
        the cabin, address the non-compliance with the individual Customer in a polite and
        discreet manner.

7.2.3             Misconduct Not Involving Safety of the Flight or Customers
Last Revised: 2017-11-01


7.2.3.1                On the Ground
Last Revised: 2017-11-01

Refer to Section 7.2.9.1, Figure 7-2, Procedures for Removal of Customers.

7.2.3.2                In Flight Requiring a Diversion
Last Revised: 2017-11-01

The IFC shall use a polite but firm voice to advise the Customer that their conduct is not
permitted onboard a JetBlue Airways flight. If the misconduct persists, the Captain will
use discretion as to the action necessary to ensure the other Customers a safe and
comfortable flight. A removal at a planned en-route stop may be considered, and in rare
occasions, physical restraint and unscheduled landings may be necessary.
In the event of illegal or criminal activity, Crewmembers will respond by following steps
outlined in Section 7.2.6, General Procedures for Handling Inflight Disturbances, and
Section 7.2.8, Threat Levels.

7.2.4             Interference with Crewmembers and Inflight Disturbance
                  Policy
Last Revised: 2017-03-01

Federal Aviation Regulation Part 121.580 provides that: “No person may assault,
threaten, intimidate, or interfere with a crewmember in the performance of the
crewmember’s duties aboard an aircraft being operated.”[14 CFR 121.580]
JetBlue Airways will fully cooperate with law enforcement agencies on all issues involving
interference with Crewmembers and inflight disturbances.

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Security/Hazmat Procedures
7.2.5             Notice to Cease Objectionable and Illegal Behavior
Last Revised: 2017-03-01

The “Notice to Cease Objectionable and Illegal Behavior” is a formal warning that federal
law prohibits the following:
   •    Interference or intimidation of an airline Crewmember or creating an alcohol related
        disturbance [14 CFR 91.11; 14 CFR 121.575]
   •    Smoking on any JetBlue flight or in the aircraft lavatory [14 CFR 121.317]
   •    Drinking any alcoholic beverage unless served by a Crewmember or the serving of
        alcohol to anyone who appears to be intoxicated [14 CFR 121.575]
If a “Notice to Cease Objectionable and Illegal Behavior” is issued, an Inflight Irregularity
Report (IIR) must be completed by all IFCs on the flight.




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Security/Hazmat Procedures
The IIR shall include the following information:
   •    Date, Time, and Time Zone
   •    Crewmember Name and ID
   •    Aircraft Type (mandatory), Tail Number, and Flight Number
   •    Operation Type
   •    Crew Base and Inflight Team Leader
   •    Departure and Destination Point
   •    Diversion City
   •    Charter Route
   •    Misconduct Type
   •    Did the Customer have a Disability?
   •    Disturbance Level
   •    Title/Brief Description
   •    Event/Concern Description (include the name(s), address(es), and telephone
        number(s) of Customers who may serve as witnesses.)
Additional information for submitting an IIR:
   •    Document specific actions associated with the incident
   •    Omit personal feelings and opinions
   •    If multiple incidents occurred during the flight, submit a report for each incident

                                                                Note
The IIR is a legal document.




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Security/Hazmat Procedures
7.2.6             General Procedures for Handling Inflight Disturbances
Last Revised: 2017-03-01

Disturbances that occur after the boarding door has been closed (except for alcohol and
smoking related events) should be handled as outlined in the following flow chart.
Depending on the severity of the disturbance, Crewmembers may need to bypass
steps on the flow chart. Section 7.2.8, Threat Levels, provides examples of Customer
disturbances and the appropriate response.
For alcohol related events, follow the procedures outlined in Section 7.3, Alcohol
Awareness.
For smoking related events, follow the procedures outlined in Section 7.4, Smoking
Onboard.




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                                   Figure 7-1. Handling Inflight Disturbances




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Security/Hazmat Procedures
7.2.7             Specific Procedures for Inappropriate Touching/Sexual
                  Assault
Last Revised: 2017-03-01

If a Customer reports that they have been the victim of unwanted touching or a sexual
assault by another Customer, Inflight Crewmembers are to take the following action:
   •    Obtain the seat numbers of all Customers in question.
   •    Notify the Flight Deck immediately.
   •    Speak to reporting Customer discreetly regarding incident. If Customer desires,
        attempt to relocate the reporting Customer to another open seat in the cabin.
        ◦ If no open seats are available, attempt to locate a non-revenue JetBlue
            Crewmember and have them switch seats with the reporting Customer.
             ■     If Customer does not wish to move or if there are no non-revenue JetBlue
                   Crewmembers available, Crewmembers are to make frequent cabin
                   walkthroughs to ensure the Customer in question is aware of their presence.
   •    If the situation escalates, notify any LEOs onboard of the activity. (


   •    Request the Flight Deck Crew arrange for Law Enforcement and Blue City
        leadership             to meet the aircraft upon arrival.




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7.2.8             Threat Levels
Last Revised: 2017-03-01

The TSA, in collaboration with the FAA, has developed a four-tiered scheme of threat
levels, which has proven useful as a common reference and vocabulary in determining
the seriousness of disturbances caused by Customers. The following charts define and
outline actions to be taken by Crewmembers for each of the four threat levels.
Threat Level 1
Disruptive Behavior – Suspicious or Threatening

Definition                                    Examples                                        Action by Crew

Disruptive behavior that may or               •    Irrational or disorderly                   •   Request the intervention of
may not require the assistance                     behavior caused by drugs,                      a GSC or other appropriate
of Law Enforcement Officers                        alcohol, or emotional                          authority (once on the
(LEOs)                                             instability.                                   ground) and submit an
                                              •    Abusive language                               Inflight Irregularity Report
                                                                                                  (IIR)
                                              •    Pointedly defiant acts or
                                                   body language                              •   Issue a “Notice to Cease
                                                                                                  Objectionable and Illegal
                                              •    Failure to comply with
                                                                                                  Behavior”
                                                   crew instructions and/or no
                                                   smoking regulations




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Security/Hazmat Procedures
Threat Level 2
Physically Abusive Behavior

Definition                                    Examples                                        Action by Crew

Escalation of Threat Level 1,                                                                 •   Request the intervention of
which requires presence of                                                                        a GSC or other appropriate
Law Enforcement Officers upon                                                                     authority (once on the
landing                                                                                           ground)
                                                                                              •   Issue a “Notice to Cease
                                                                                                  Objectionable and Illegal
                                                                                                  Behavior”




                                                                                              •   All Crewmembers submit an
                                                                                                  Inflight Irregularity Report
                                                                                                  (IIR)




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Security/Hazmat Procedures
Threat Level 3
Life Threatening Behavior

Definition                                    Examples                                        Action by Crew
•     Life threatening behavior that                                                          •   Request the intervention
      poses an imminent threat of                                                                 of appropriate authorities
      death or serious bodily injury                                                              (once on the ground)




                                                                                              •   All Crewmembers submit an
                                                                                                  Inflight Irregularity Report
                                                                                                  (IIR)




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Threat Level 4
Attempted or Actual Breach of the Flight Deck

Definition                                                          Action by Crew

Any attempt to breach the Flight Deck, whether
attempted or threatened




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7.2.9             Procedures for Removal of Customers
Last Revised: 2017-11-01


7.2.9.1                On the Ground
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                             Figure 7-2. Procedures for Removal of Customers




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Security/Hazmat Procedures

                                                                Note
JetBlue has the duty as a common carrier to serve the public without discriminating.

7.2.9.2                In-Flight Requiring a Diversion
Last Revised: 2017-03-01

If an unscheduled stop is made to remove a Customer, the Captain has authority to issue
all necessary orders and make all arrangements for removal.

                                                                Note
Security incidents may require the use of irregular procedures that may deviate from
established policies in the Flight Attendant Manual (i.e., Customer in a jumpseat, Law
Enforcement Officers standing for landing, etc.).




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7.2.10            Reporting the Removal of Customers
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When a Customer is removed for misconduct, intoxication, or criminal acts, the IFC:
   •    Shall submit an Inflight Irregularity Report (IIR) within 24 hours of the incident.
   •    Shall cooperate with law enforcement by providing any required statements and
        witness information.
   •    If requested to provide a statement, the IFC shall use the company address and
        phone number and should never provide personal information such as a home
        address or telephone number.
Corporate Address:

JetBlue Airways Corporation
27-01 Queens Plaza North
Long Island City, NY 11101
(718) 286-7900

7.2.11            Flight Deck Notification of Security Event / Suspicious
                  Activity
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Notify the Flight Deck discreetly in the event of suspicious activity, security breaches in
the cabin, and any Level 3 or Level 4 security event.
IFC notifying the Flight Deck will:




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Security/Hazmat Procedures
7.2.12            Prohibited Item/Suspicious Device - Aircraft Search Checklist
In the event a threat is made against an aircraft during flight, Inflight Crewmembers may
be instructed by the Flight Deck Crew to conduct a search of the aircraft in an attempt to
locate prohibited item(s)/suspicious device(s). Inflight Crewmembers will use the Aircraft
Search Checklist to inspect areas for concealed, prohibited and/or suspicious items in
all areas of the aircraft. Should a prohibited item/suspicious device be located, Inflight
Crewmembers will notify the Flight Deck immediately. If necessary, follow the procedures
outlined in Section 7.5.6, Bomb and Sabotage Threats.
Use Table 7-1, Prohibited Item/Suspicious Device - Aircraft Search Checklist to search
and inspect areas for concealed, prohibited and/or suspicious items.




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Flight Attendant Manual (FAM)
Security/Hazmat Procedures
                 Table 7-1. Prohibited Item/Suspicious Device - Aircraft Search Checklist

                       Prohibited Item/Suspicious Device - Aircraft Search Checklist




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                       Prohibited Item/Suspicious Device - Aircraft Search Checklist




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                       Prohibited Item/Suspicious Device - Aircraft Search Checklist




7.3          Alcohol Awareness
Last Revised: 2017-03-01

Serving alcohol onboard is an expected part of JetBlue’s Inflight Service. However, it
must be served in a safe and effective manner to prevent problems on the aircraft.
It is important to remember that alcohol induced problems can intensify in the confines
of an aircraft cabin.
   •    No person may drink any alcoholic beverage aboard an aircraft unless the
        certificate holder operating the aircraft has served that beverage to them.
   •    Alcohol is never served to anyone under the age of 21 and IFCs must check the
        photo ID of anyone who appears to be under 21 years of age.
   •    Alcohol is never to be served to a Law Enforcement Officer (LEO), Federal Flight
        Deck Officer (FFDO), or any other person carrying a dangerous weapon.
   •    For limits on alcohol brought onboard, refer to the Airport Operations Manual
        (AOM) on Comply365.




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7.3.1             Intoxicated Customers
Last Revised: 2017-03-01
Regulation: 14 CFR 121.575

A Customer who appears intoxicated shall not be allowed to board the aircraft, and a
Customer onboard an aircraft who appears to be intoxicated during flight shall not be
served any more alcohol.

7.3.2             Methods Available to Limit Consumption
Last Revised: 2017-03-01

Provide Alternatives
   •    Engage Customer in conversation.
   •    Suggest s/he watch Inflight Entertainment System.
Offer Food
   •    Offer snacks and non-alcoholic beverages, especially water.
Refuse Alcohol
   •    Tactfully inform Customer that they will not be served any more alcohol.
   •    Use the utmost diplomacy but be firm, since the intoxicated Customer is not likely
        to be rational.
   •    Keep the Customer informed, but never tell them that they are “drunk” or
        “intoxicated.”
   •    Tell the Customer that you are responsible for their safety and the safety of the
        other Customers.
   •    Keep message short, clear, and professional.
   •    Inform other IFC(s) and the Flight Deck Crew that the Customer has been refused
        alcohol.

7.3.3             Procedure for Reporting Alcohol-Related Disturbances
Last Revised: 2017-03-01

   1.      Notify the Captain.
   2.      All IFCs complete and submit an Inflight Irregularity Report (IIR).
   3.      Captain will complete a Flight Crew Irregularity Report.
   4.      The Safety Department will report alcohol-related Customer disturbances to the
           FAA within 5 days as required by FAR 121.575.[14 CFR 121.575]




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7.4          Smoking Onboard
Last Revised: 2017-03-01
Regulation: 14 CFR 121.317

The table below outlines JetBlue Airways’ Smoking Onboard policy and the procedures
to follow in the event of non-compliance with the policy. JetBlue Airways prohibits
smoking and the use/charging of e-cigarettes on all flights.

Customer                                                            IFC Action

Customer was believed to be smoking and                             1.     Verbal Warning: Advise Customer it is
extinguishes smoking material                                              against the law and they may be fined.
                                                                    2.     Search for discarded smoking material.
                                                                    3.     Notify the Captain.
                                                                    4.     All IFCs submit an IIR.

Customer was observed smoking                                       1.     Notify the Captain: the Captain will arrange
or                                                                         for a GSC to meet the flight upon arrival at
Customer refuses to extinguish smoking material                            the gate (if on the ground without the Flight
or                                                                         Deck Crew, contact an AO Crewmember).
Customer has tampered with the smoke detector
                                                                    2.     Issue a “Notice to Cease Objectionable and
or
                                                                           Illegal Behavior.”
Customer re-lights smoking material after verbal
warning                                                             3.     All IFCs submit an IIR.




7.5          Security
Last Revised: 2017-03-01

JetBlue Airways’ security procedures and policies are not contained in this manual due to
the confidential nature of the information. Security procedures training is received during
Initial Qualification and Continuing Qualification Training. Contact the Corporate Security
Department or refer to the Security Manual (SM) on Comply365, for specific details.

7.5.1             First Flight / International Flight Security Checks
Last Revised: 2017-03-01

A physical search of the aircraft shall be conducted:




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                                                                Note
Some stations may require Crewmembers to deplane the aircraft with their belongings
while security searches are conducted. If requested, Inflight Crewmembers will comply
with this request and board the aircraft once security checks have been completed.

7.5.2             Aircraft Security
Last Revised: 2017-03-01

Effective security requires the involvement of, and communication between, all JetBlue
Crewmembers. It is the responsibility of each IFC to have an awareness of the standard
security measures which include, but are not limited to:
   •    Ensuring that only authorized persons displaying an ID, or ticketed Customers
        are in the vicinity of the aircraft.
   •    Closing and securing jetbridge doors when the aircraft is not attended.
   •    Maintaining an awareness of the surroundings, and looking for unauthorized bags
        or other items in the cabin, overhead bins, stowage compartments, lavatories and
        galleys, as well as looking for suspicious/unusual behavior or activity.
   •    Communicating anything unusual to the Captain, AO Crew, or another IFC.
   •    Being aware of suspicious and/or inappropriate items carried into lavatories.

7.5.3             Enroute Flight Deck Entry
Last Revised: 2017-03-01
Regulation: 14 CFR 121.584

Only working Crewmembers can enter the Flight Deck during flight or be on the Flight
Deck side of the galley cart when put in place for Flight Deck access.




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7.5.4             Flight Deck Emergency Entry
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A320/A321




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7.5.5             Cabin Surveillance System
Last Revised: 2017-03-01

JetBlue Airways has installed cameras in the cabin of some aircraft for the safety and
security of our Crewmembers and Customers. Use of the cameras for any purpose other
than the safety and security of our Crewmembers and Customers is strictly prohibited.
Since Flight Deck personnel cannot leave the Flight Deck for security reasons, these
cameras allow the Flight Deck Crew to have invaluable information to relay to ground
personnel in the event of a security or medical issue onboard an aircraft.




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7.5.6             Bomb and Sabotage Threats
Last Revised: 2017-06-05

Every threat situation is unique and clear communication between IFCs and the Flight
Deck Crew is vital to a successful outcome. All IFCs must understand and follow
instructions from the Captain (and Federal Air Marshals, if present).
If any evidence of sabotage or an actual or suspected explosive device is discovered,
report it immediately to the Captain.
Sabotage is                                              . IFCs must follow the instructions outlined in the
Action by Crew column                                           Chart in Section 7.2.8.

7.5.6.1                Suspicious Device Identification
Last Revised: 2017-06-05

For identification purposes, the four main components of an Improvised Explosive Device
(IED/Bomb) are typically referred to by the PIES acronym:
   •    Power Source
   •    Initiator
   •    Explosive Material
   •    Switch
Additional components of a device may include wires and/or timing mechanisms.

7.5.6.2                Suspicious Device Response
Last Revised: 2017-06-05

   1.      Immediately notify the Captain


   2.



   3.      Ensure Flight Deck remains in lockdown in accordance
                      .
   4.      Coordinate a response plan with the Flight Deck Crew


   5.      The Flight Deck Crew will make an announcement to Customers instructing
           the following:



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           • Listen to and follow all instructions
           • Hands must remain in view
           • Customers may have to move seats and share, if necessary
           • Turn off all electronic devices




7.5.6.3                Least Risk Bomb Location Stack Procedure
Last Revised: 2017-06-05

The Least Risk Bomb Location Stack Procedure is designed to:




Procedure




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7.5.7             Personal Security Guidelines and Recommendations
Last Revised: 2017-03-01

General
   •    Do not leave personal baggage unattended in any public area.
   •    Remove JetBlue ID from Customer view after boarding the aircraft.
   •    Attach a business address, not a home address, to personal baggage.
Hotel Security
   •    Do not travel with expensive jewelry.
   •    Do not leave valuables in the room (i.e., purse, passport, money).
   •    Do not allow the assigned room number to become public knowledge.
   •    If unfamiliar with the hotel, ask the front desk for specific directions to the room.
   •    Coordinate with Crewmembers to determine a place to meet if evacuation of the
        hotel becomes necessary.
   •    If alone, request a hotel personnel escort to the room, and ask that they perform
        a security check of the room.
   •    Do not stop at the assigned room if under suspicion of being watched or followed.
   •    Use a buddy-system to check rooms and ensure each Crewmember has safely
        entered and locked their door.
   •    Upon entering the room, check under the bed(s), behind the curtains, the closet,
        and the peep hole. Check the room locks and balcony doors. If any locks are not
        working properly, request another room.
   •    Lock all doors with dead bolt/u-clasp while in the room.
   •    Do not open the door for anyone unexpected. If someone requests entrance, call
        the front desk to validate their credentials.
   •    Become familiar with the nearest exits in case of fire.
   •    Leave a television/radio and lights on and post a “Do Not Disturb” sign when
        leaving the room.
   •    When leaving the hotel, carry the hotel phone number and address and let another
        Crewmember know of your intended destination.




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7.6          Hazardous Materials
Last Revised: 2016-12-16
Regulation: 49 CFR 175.10; 14 CFR 121.135(B)


7.6.1             Regulation
Last Revised: 2017-03-01

JetBlue is responsible for compliance with all provisions of the Hazardous Materials
Regulations (HMR), Title 14 and 49, Code of Federal Regulations. [14 CFR 121.135(b)]

7.6.2             Definition
Last Revised: 2017-03-01

A substance or material which has been determined, by the Secretary of Transportation,
to be capable of posing an unreasonable risk to health, safety, or property when
transported by air and which has been so designated.

7.6.3             JetBlue Hazardous Materials Policy
Last Revised: 2017-03-01

It is JetBlue policy to avoid carriage of Hazardous Materials not qualified. Hazardous
materials are prohibited in luggage or carry-on baggage. JetBlue’s complete Hazardous
Materials Policy can be found in Chapter 7 of the Approved Programs Manual (APM)
located on Comply365.

7.6.4             List of Acceptable Items in Cabin
Last Revised: 2017-03-01

The following list is not all-inclusive. Refer to the Airport Operations Manual (AOM) on
Comply365 for more information.

7.6.4.1                Acceptable Items in the Cabin
Last Revised: 2017-06-05

   •    Personal Care Items – (i.e., flammable perfume, aerosols, etc.) Totaling no more
        than 70 ounces by mass or 68 fluid ounces. Contents of each container may not
        exceed 16 ounces fluid by volume or 18 ounces by mass. Aerosols must have
        a protective cap.
   •    Nail polish/nail polish remover – May be carried onboard the aircraft in carry-on
        luggage, however, neither item may be used while onboard the aircraft.




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   •    Dry Ice
        ◦ Dry ice carried onboard by Customers: For packing perishables, dry ice (2.5
           kg / 5.5 lbs or less) may be carried onboard the aircraft provided the package is
           vented to allow CO2 gas build-up to escape.
        ◦ Dry ice handling procedures: Dry ice will be provisioned by Business Partners
           in carts and/or bins to chill products.
             ■     Keep dry ice inside packaging and never handle with bare hands.
             ■     Do not add water to dry ice.

                                                                       Warning

                   Adding liquids of any type to dry ice may result in a chemical reaction that
                   could trigger an explosion resulting in a physical injury.

             ■     Never use for first aid treatment.
             ■     Dry ice is not for public use – never give to a Customer.
             ■     Do not use dry ice to chill Customer or Crewmember items including but not
                   limited to medications, food, drink, etc.
             ■     Use c-fold towels (from galley or lavatory - three thick) when handling dry ice.
             ■     Grasp corner of packaged dry ice when handling.
             ■     Place dry ice package in the slide out dry ice compartment on top of cart
                   or in empty, dry cart drawer.
             ■     Do not discard dry ice in the trash.

                                                                     Note
        Inflight Crewmembers should contact the Flight Deck if they suspect a Fresh BOB
        cart has not been provisioned with dry ice.

   •    Lithium Ion Batteries for Mobility Devices:
        ◦ May be carried onboard the aircraft in carry-on luggage.
        ◦ Spare batteries are limited to either one spare battery not exceeding 300 Wh
            (25 grams of equivalent lithium content) or two spare batteries not exceeding
            160 Wh (13.5 grams of equivalent lithium content).
        ◦ Batteries must be individually protected to prevent short circuits by placing them
            in the original packaging or insulating the battery terminals (e.g., taping over
            exposed terminals or placing each battery in a separate plastic bag or pouch.

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        ◦    AO Crewmember will place an Assistive Device and Battery Information tag on
             the battery indicating the battery has been inspected and approved for transport.

7.6.4.2                Acceptable Items in the Cargo Compartment
Last Revised: 2017-03-01

   •    Electric Wheelchairs – must be transported in accordance with requirements
        found in the Airport Operations Manual (AOM) and Approved Programs Manual
        (APM).

7.6.5             List of Unacceptable Items in Cabin
Last Revised: 2017-06-05

The following list is not all-inclusive. Refer to the Airport Operations Manual (AOM)
and Appendix K of the Approved Programs Manual (APM) on Comply365 for more
information.
   •    Fireworks
        ◦ Signal flares, sparklers, or other explosives
   •    Flammable liquids or solids
        ◦ Fuel and paints
   •    Helium filled balloon, or any other helium filled object(s)
   •    Household items
        ◦ Drain cleaners and solvents
   •    Pressure containers
        ◦ Spray cans, butane fuel, scuba tanks, propane tanks, self-inflating rafts
   •    Weapons
        ◦ Firearms, ammunition, gunpowder, mace, tear gas or pepper spray
   •    Other hazardous materials
        ◦ Gasoline-powered tools, wet-cell batteries, camping equipment with fuel,
           radioactive materials (except limited quantities), poisons, infectious substances
   •    Self-defense spray/pepper spray
   •    Self-heating meals
   •    Samsung Galaxy Note 7
        ◦ This device may not be shipped as air cargo, placed in checked or carry-on
          baggage, or be carried in the cabin of the aircraft by a Customer or
          Crewmember.
If encountering a self-heating meal before it has been activated, IFCs will:


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   •    Inform the Customer that the item is prohibited by JetBlue and may not be activated
        during flight.
If encountering a self-heating meal after it has been activated, IFCs will:
   •    Monitor the situation to the best of their ability to ensure packaging is not placed in
        such a position to facilitate any hazard onboard the aircraft.
   •    Collect and dispose of regular service items once container has cooled down and
        safe to handle.

7.6.6             Hazardous Materials Warning Labels
Last Revised: 2017-03-01

If an IFC discovers a package with any of these labels or similar labels on it, s/he
must immediately notify the Captain and, if on the ground, an AO Crewmember must
be notified.




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7.6.7             Hazardous Materials Leak
Last Revised: 2017-03-01

A liquid, powder or vapor of any kind that is obviously outside of its packaging, must be
treated as a potential hazardous material. Should any JetBlue Crewmember detect
damage or leakage of an unknown substance, note the following:
   •    Notify the Flight Deck (or an AO Crewmember if aircraft is on the ground).
   •    Contact will be made with 3E who will provide instruction for Inflight Crewmembers
        regarding assistance in identification of hazards, clean-up methods and waste
        disposal.
   •    Do not attempt to clean-up hazardous spills.
   •    Without making direct contact with substance:
        ◦ Attempt to identify the source from obvious labels and markings, and continue
           to look for obvious signs of Dangerous Goods/Hazmat.


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        ◦    If item is baggage, attempt to locate the Customer from the name tag or bag tag.
        ◦    Attempt to remove all items in the immediate areas that have not been
             contaminated.
        ◦    If the item is confirmed non-hazardous, remove and clean up area of spill.




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